Case 1:17-cr-00201-AB.] Document 173 Filed 02/09/18 Page 1 of 3

UNITED srArEs DlsrRICr CoURT
FoR rHE DrsrRrCr oF CoLUMBIA
UNITED srArEs oF AMERICA,
V.
Crim. NO. 17-201-01 (ABJ)
PAUL J. MANAFoRr, JR.,

Defendant.

DEFENDANT PAUL J. MANAFORT, JR.’S MOTION FOR LEAVE TO FILE
UNDER SEAL SUPPLEMENTAL INFORl\/LATION
TO HIS MOTION FOR RECONSIDERATION OF CONDITIONS OF RELEASE

Defendant Paul J. Manafort, Jr., by and through counsel, moves for leave to file
under seal supplemental information related to the motion for reconsideration of his
conditions of release. (See Dkt. # l52-2) (sealed). Per the Court’s Minute Order dated
January 22, 2018, the defendant submits this supplemental information to the previously
sealed motion for reconsideration, and in response to the guidance provided during the
sealed hearing held on January 22, 2018.

The basis for sealing this filing remains the same as for the original motion for
reconsideration (Which was granted). Despite the general policy that public access to
judicial proceedings and judicial records is important to the proper functioning of our
justice system, there is good cause and compelling reasons in this instance to Seal the
Supplemental information to the motion for reconsideration More particularly, the
defendant has sought reconsideration of financial conditions of release set forth in the
December 15, 2017 Order, and this matter remains under advisement with the Court. See

Minute Order dated January 22, 2018. The submission of sensitive financial information

- including current mortgage statements - is necessary for the Court to properly evaluate

Case 1:17-cr-00201-AB.] Document 173 Filed 02/09/18 Page 2 of 3

the relief that is requested by the defendant; i.e., to evaluate the adequacy and
appropriateness of the conditions of release under 18 U.S.C Section 3142 and determine
the least restrictive conditions that will reasonably assure the defendant’s appearance as
required See United Stares v. Xulum, 84 F.3d 44l, 443 (D.C. Cir. 1996) (per curiam).
The supplemental information concerns the defendant’s financial condition,
including details about his assets and liabilities, and is directly tied to the motion for
reconsideration that remains under advisement and sealed by this Court. Therefore, this
information should also remain under seal as well, at least until the Court rules and a
properly redacted version can be docketed The private financial information of the
defendant (and non-parties) is not available to the public. The defendant’s previously filed
motion for modification of release conditions and the Court’s subsequent Order have
sufficiently advised the public of the issues, but have not created unwarranted risk to the
defendant (and non-parties) regarding their private finances The Court has noted this case
is subject to substantial publicity and media coverage, and the identification and analysis

of assets and liabilities should continue to be protected

Case 1:17-cr-00201-AB.] Document 173 Filed 02/09/18 Page 3 of 3

WHEREFORE, Defendant Manafort moves for leave to file under seal this
supplemental submission to his motion for reconsideration of the conditions of release.

Dated: February 9, 2018 Respectfully submitted,

/s/
Kevin M. Downing
Law Office of Kevin M. Downing
601 New Jersey Avenue, NW
Suite 620
Washington, DC 20001
Tel: 202-754-1992
Fax: None
Email: kevindowning@kdowninglaw.com
DC Bar #1013984

/s/
Thomas E. Zehnle
Law Office of Thomas E. Zehnle
601 New Jersey Avenue, NW
Suite 620
Washington, DC 20001
Tel: 202-368-4668
Fax: None
Email: tezehnle@gmail.com
DC Bar # 415556

